           Case 1:96-cv-01465-PKC-LB                                            Document 33                        Filed 01/21/99   Page 1 of 3 PageID #: 134



UNITED STATES DISTRICT COURT
_E.:A
    . ;_..c:.S..c;;T_E..:. .R. :. .N_ D.;I..::.
                                         ;;: S-=T..:...R..:c:I-=-C-=T---=-
                                                                        O-=-F-----=.N.:.cE_
                                                                                         .c. W---=-Y-=-
                                                                                                     O..:...
                                                                                                        R_K_ _ _ _ _ _ _ X
 MR. TONY HARRISON,
                                                    PLAINTIFF,
                                                                                                     RECEIVE:O
                                                                                              ~    lN CHAMBERS OJ1                     9 6-CV- 14 6 5 ( s . J . )
                                                                                              BON. STERLING JOHNSON J-R.
                                        -AGAINST-
                                                                                                           JA:J :l i 1999

A.D.A. NANCI SLATER,         ' tf'JMEA.M. ·nur.••••ti•••••••';••••n f NOTICE OF: DEFAULT
NEW YORK CITY POLICE DEPT.         - p.M. ............................ MOTION PURSUANT TO
NEW YORK CITY DEPT. OF CORR.                                           RULE 55(A), FED.R.
IN TER ALIA,                                                             CIV. P.
                  DEFENDANTS
_ _____ _____ _______ ____ x
                                                    PLEASE TAKE NOTICE, THAT UPON THE ACCOMPANYING AFFIDAVIT

I N SU PP ORT OF MR. TONY HARRISON , PLAINT IF F, DULY SWORN TO ON THI 'S to-rf DA Y OF

JANUARY 199 9.


                                                   ALSO THE ATTAC HED EXH IB ITS HERETO UPON NOT I CE HERE IN, AND

ALL PLEADINGS AND PROCEED INGS HE RETOFORE HAD HERE IN THE UNDERSIGNED WI LL MOVE

THAT A TERM OF TH E UNITED STATES DISTRICT COURT: EASTERN DISTR I CT OF NEW YORK ;
LOCATED AT 225 CADMAN PLA ZA, BROOKLYN, N. Y. 112 1 01, " DEFAULT" DEFENDANTS THAT

HAS FAILED TO RESPOND FOR A LONG TIME , PUR SUANT TO RULE 55(A) , FED . R. CI V . P .



                                                    PLAI NTIF F REQUES T THAT THIS DEFAULT MOTION BE FI LED "FORTH-

WITH", SEE:                       U.S . EX . REL . CARTER V. JENNING, D.C. PA. 3 33 F. SUPP . 139 2 ,-13

97.




                                                                                                                ~
  Case 1:96-cv-01465-PKC-LB                    Document 33            Filed 01/21/99   Page 2 of 3 PageID #: 135


UNITED STATES DISTRICT COURT
_EA_ST_ER_N_D_I__,;S;;...T;.;,..R__,;I;_..C_T_O_F_N_E_W_Y_O_R_K_ _ _ _ _ _X
MR. TONY HARRISON,
                                             PLAINTIFF,


                -AGAINST-                                                               AFFIDAVIT IN SUPPORT OF:
                                                                                        DEFAULT MOTION PURSUANT
                                                                                        TO RULE 55(A), FED.R.CIV.
                                                                                        P.
A.D.A. NANCI SLATER,
NEW YORK CITY POLICE DEPT.                                                              9 6 -CV -14 6 5 ( S . J . )
NEW YORK CITY DEPT. OF CORR.
INTER ALIA,
                  DEFNDANTS
                    X
--------------------
STATE OF NEW YORK)
COUNTY OF CAYUGA )SS:

              I, TONY HARRISON, BEING DULY SWORN AND SAYS:
A). THAT I AM THE PLAINTIFF IN THE ABOVE TITLED ACTION. I AM FULLY AWARE OF
      ALL THE FACTS AND CIRCUMSTANCES IN RELATION TO THE INSTANT MATTER. FURTH-
      ERMORE, I AFFIRM THAT ALL THE FACTS PRESENTED HEREIN, REGARDING THE SAME
       IS TRUE TO THE BEST OF MY KNOWLEDGE AND BELIE'VETH.
B). THE PLAINTIFF MAKES THIS AFFIDAVIT IN SUPPORT OF THE FOREGOING NOTICE OF
      DEFAULT AGAINST DEFENDANTS LISTED BELOW:
              DEFENDANTS SERVED ON ORIGINAL COMPLAINT
1). N.Y.C. DEPT. OF CORRECTIONS WAS SERVED ON ORIGINAL COMPLAINT 6/5/96,
      AND SIGNED BY JOSHEPH GUARINO ASS. DEP. AND SUSAN TUCKER,                                           NO RESPONSE
      NO PLEADING.
2). N.Y.C. POLICE DEPT. WAS SERVED ON ORIGINAL COMPLAINT 5/9/96, NO RESPONSE
3). CORRECTIONAL OFFICER HODGE#ll923 WAS SERVED ON ORIGINAL COMPLAINT 6/6/96
      AND SIGNED BY SALSADO. NO RESPONSE, NO PLEADING.




                                                                    {2 ) .




                                                                        I
    Case 1:96-cv-01465-PKC-LB   Document 33      Filed 01/21/99   Page 3 of 3 PageID #: 136
L    i\




                        CONT. AFFIDAVIT IN SUPPORT

          4). CORRECTIONAL OFFICER STEWARD WAS SEilllEJ)ON ORIGINAL COMPLAINT

              6/5/96, SIGNED BY CAPT O'REILLY. NO RESPNSE, NO PLEADING.

          5). CORRECTIONAL OFFICER NELSON WAS SERV,BDD ON ORIGINAL COMPLAINT

              5/14/96, AND SIGNED BY HIM. NO RESPONSE, NO PEADING.

                        DEFENDANTS SERVED WITH AMENDED COMPLAINT:

          1). A.D.A. NANCI SLATER WAS SERVED WITH AMENDED COMPLAINT 911/96,

              AND SIGNED BY HER. NO RESPONSE, NO PLEADING.

          2). CITY OF NEW YORK, PAUL CROTTY OFFICE OF CORP. CNSL. LAW DEPT.,

              FOR CITY OFFICIALS WAS SERVED WITH AMENDED COMPLAINT 9/11/96.

          3). CORRECTIONAL OFFICER HOD6E#ll923,(95) WAS SERVED WITH AMENDED

              COMPLAINT 12/18/96, AND SIGNED BY CAPT. BUSH. NO RESPONSE.

          4). N.Y.C. POLICE DEPT. BROOKLYN 71ST PCT. WAS SERVED WITH AMENDED

          COMPLAINT 9/10/96, AND SIGNED BY A SGT .. NO RESPONSE, NO PLEADING.

          N.Y.C. POLICE DEPT. 1 POLICE PLAZA WAS SERVED WITH AMENDED COM-

          PLAINT 11/5/96, AND SIGNED BY P.O. GODFREY. NO RESPONSE, NO PLEADING.

          5). DETECTIVE SGT. KENNEDY WAS SERVED WITH AMENDED COMPLAINT 9/26/96

              AND SIGNED BY HIM. NO RESPONSE, NO PLEADING.

          6). DETECTIVE MULLHALL WAS SERVED WITH AMENDED COMPLAINT 9/17/96,

              AND SIGNED BY HIM. NO RESPONSE, NO PLEADING.

          7). D.A. CHARLES HYNES WAS SERVED WITH AMENDED COMPLAINT 9/11/96,

              AND SIGNED BY A A.D.A .. NO RESPONSE, NO PLEADING.

              WHEREFORE, I, THE PLAINTIFF IS REQUESTING THAT ALL DEFENDANTS

          BE "ORDERED" DEFAULT PURSUANT TO RULE 55(A), FED.R.CIV.P.

             I DECLARE UNDER THE PENALTY OF PERJURY THE (FOREGOING) IS TRUE

             AND CORRECT.
                                                            RESPECTFULLY SUBMITTED,

          DATED: 1/10/99
                                                        r~RISON
          SEE ATTACHED SUMMONS.
                                        ( 3) .
